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ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, state bar number, and address): FOR COURT USE ONLY

Robert W, Cohen, SBN 150310

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TELEPHONE No.; (310) 282-7586 FAX NO.
ATTORNEY FOR (Name); Plaintiff CHINA BRANDING GROUP LIMITED

 

NAME OF COURTUNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

STREET ADDRESS) 55 East Temple Street
MAILING ADDRESS255 East Temple Street
CITY AND zIP COpELOS Angeles, CA 90012

BRANCH nameRoybal Federal Building

 

PLAINTIFF: CHINA BRANDING GROUP LIMITED

DEFENDANT: TONY BOBULINSKI

 

 

RIGHT TO ATTACH ORDER AND ORDER FOR ISSUANCE OF WRIT OF 2:20-cv-06759 RGK(JCx)

[-] ORDER FOR ISSUANCE OF ADDITIONAL WRIT OF ATTACHMENT AFTER

CASE NUMBER:

ATTACHMENT AFTER HEARING

HEARING

 

 

 

1. a

The application of plaintiff (name):
for a right to attach order and order for issuance of writ of attachment
an order for issuance of additional writ of attachment
against the property of defendant (name):
came on for hearing as follows:
(1) Judge (name): Honorable Jacqueline Chooljian

(2) Hearing date: October 13, 2020 Time: 9:30 a.m. Courtroom: 750

. The following persons were present at the hearing:

(1) LJ Plaintiff (name): (3) Plaintiffs attorney (name): Robert W. Cohen, Mariko Taenaka
(2) [J Defendant (name): (4) Defendant's attorney (name): Jose Nuno

FINDINGS

2. THE COURT FINDS

a.

b
Cc.
d.
e
f

g

Defendant (specify name): TONY BOBULINSKI isa natural person Dpartnership
unincorporated association [1] corporation CJ other (specify):

. The claim upon which the application is based is one upon which an attachment may be issued.

Plaintiff has established the probable validity of the claim upon which the attachment is based.
The attachment is not sought for a purpose other than the recovery on the claim upon which the attachment is based.

. The-amount to be secured by the attachment is greater than zero.

Defendant failed to prove that all the property described in plaintiffs application is exempt from attachment.
[1 The following property of defendant, described in plaintiffs application
(1) L] is exempt from attachment (specify):

(2) [1 is not exempt from attachment (specify):

 

h. [1] The following property, not described in plaintiff's application, claimed by defendant to be exempt

(1) [2] is exempt from attachment (specify):

(2) L1 is not exempt from attachment (specify):
i. An undertaking in the amount of: $10,000 is required before a writ shall issue, and plaintiff

J has has not __ filed an undertaking in that amount.
j. A Right to Attach Order was issued on (date): pursuant to
[X] Code of Civil Procedure section 484.090 (on hearing) L_] Code of Civil Procedure section 485.220 (ex parte)
k. [_] Other (specify):
CV"048 (05/18) RIGHT TO ATTACH ORDER AFTER HEARING AND ORDER Code of Civil Procedure,

(AT-120 [Rev. January 1, 2000))

§§ 482.030, 484.090

FOR ISSUANCE OF WRIT OF ATTACHMENT (Attachment) Page one
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SHORT TITLE: CASE NUMBER:
| China Branding Group Limited v. Tony Bobulinski 2:20-cv-06759 RGK(JCx)

 

 

 

3, THE COURT ORDERS ORDER
a. Plaintiff has a right to attach property of defendant (name): Tony Bobulinski
in the amount of: $ $659,429.79
b. [J The property described in items 2g(1) and 2h(1) of the findings is exempt and shall not be attached.
c. The clerk shall issue a writ of attachment L] an additional writ of attachment in the amount stated in item 3a
LC forthwith upon the filing of an undertaking in the amount of, $10,000

(1) C1 for any property of a defendant who is not a natural person for which a method of levy is provided.
(2) for the property of a defendant who is a natural person that is subject to attachment under Code of Civil

Procedure section 487.010, described as follows (specify):

All real property, non-exempt personal property, equipment, motor vehicles, chattel paper, negotiable and other instruments, securities,
deposit accounts, safe deposit boxes, accounts receivable, general intangibles, property subject to pending actions; final money
judgments, personalty in estates of decedents, and all community property of the type described above.

(3) (] for the property covered by a bulk sales notice with respect to a bulk transfer by defendant or the proceeds of sale
of such property, described as follows (specify):

(4) C0 for plaintiff's pro rata share of proceeds from an escrow in which defendant's liquor license is sold. The license
number is (specify):

d. [1] Defendant shall transfer to the levying officer possession of
(1) CL] any documentary evidence in defendant's possession of title to any property described in item 3c;
2 any documentary. evidence in defendant's possession of debt owed to defendant described in item 3c;
(3) [[] the following property in defendant's possession (specify):

 

NOTICE TO DEFENDANT: FAILURE TO COMPLY WITH THIS ORDER MAY SUBJECT YOU TO
ARREST AND PUNISHMENT FOR CONTEMPT OF COURT.

 

 

 

e. LJ Other (specify):

f. Total number of boxes checked in item 3: 3

Date: October 13, 2020

Honorable Jacqueline Chooljian, United States Magistrate Judge > Za COL
U0 ess (TYPEORPRINTNAME) Z/_" {SIGNATURE OF JUDGE ORAGISTRATE JUDGE)

CV-048 (05/18) RIGHT TO ATTACH ORDER AFTERHHEARING AND ORDER —” Page two
FOR ISSUANCE OF WRIT OF ATTACHMENT (Attachment)

 
